      Case 8:07-cr-00495-JSM-TGW Document 154 Filed 07/17/08 Page 1 of 6 PageID 387
             ~ 06105) Sheet 1 - Judgment in a Criminal Case
~ 0 ' 2 4 5(Rev


                             UNITED STATES DISTRICT COURT
                                                   MlDDLE DISTRICT OF FLOR lD.4
                                                        TAMPA DIVISION



UNrrED STATES OF AMERICA                                      JUDGMENT 1N A CRIMINAL, CASE

                                                              CASE NUMBER:         8:07-cr-495-T-307 C
                                                              USM NUMBER: 49848-018



                                                              Defendant's Attorney: Peter A. Sartes, cja.

THE DEFENDANT:

-
X p l d e d guilty to count(s) ONE of the Second Supaseding Indictment.
-pleaded mlo contendm to count{s) which was accepted by the cotnrt
-was bund guilty on c m t ( s ) a h a plea of not guilty.


TITLE & SECTION                     NATURE OF OFFENSE                           OFFENSE ENDED

18 U.S.C. 9 371                     Conspiracy to Commit Offensw                 December 19, 2007                  One


        The defhdmt is sentenced as providedin pages 2 through 6 ofthisjudgment. Tf~esentence is imposed pusrant to the SeDtencing
Reform Act of 1984.

  ?he defendant has been found not guilty on eount(s)
X C a n t ONE of the Fiat Supmedhg Indictment are dismissed on the motion of the United States.
IT IS FURTHER ORDERED that the defendant must notify the United States Attorney for this district within 30 days of any chaage of
name,residence, or mailingaddress until dl fines, mtitutioa costs, and specspecial assessments imposed by thisjudgment are fully paid
If ordered to pay restikution, the defendmt must notify h e court and United States Attorney of any material change in economic
circum9tanca.


                                                                                 Date of Imposition of Sentence: July 17.2008




                                                                                 WED
                                                                                   STATES DISTRICT JUDGE
      Case 8:07-cr-00495-JSM-TGW Document 154 Filed 07/17/08 Page 2 of 6 PageID 388
A 0 245 B (Rev 06/05) Sheet 2 - Imprisonment (Judgment in a Criminal Case)
Defendant:         CASIMIRO GARCIA                                                                       l u d g r n c n ~- Page   of
Case No.:          8:07-cr-495-T-30TGW



        After considering t h e advisory sentencing gujdelines and all o f thc factors identified in Title 18 U.S.C. S$
3553(a)(l)-(7), the c o u r t finds t h a t the sentence impostd is sufficient, but not greater thnn necessary, to comply with
the statutory purposes of sentencing.


          'I'he defendant is hereby committed to t h e custody of tbe United States Bureau of Prisons to be imprisoned for
a tota I ter rn of SEVEN (7) MONTHS as to Count One of the Second Superseding lndic tmen t.




-The court makes the following recommendationsto the Bureau of Prisons:
-The defendant i s remanded to dte custody ofthe United Stsres M a .
-The defendant shall surrender to the UnitedStates Mershal for this district.
          ,at -a.rn,lprn. on ,
          -as notified by the United States Marshal.
X The defendant shall surrender for swvice of mtence at the institution designated by the Bureau of Prisons
          -X before 2 p.m. on -.
          -    as notified by the United States Marshal.
          -as notifled by the Probation or Pretrial Services Office


          I have executed this judgment as follows:




          Defendant delivered on                                           to
-    at                                                               ,with a certified copy or this judgment.

                                                                                United States Marshal

                                                                       B>:
                                                                                        Deputy United Stares Marshal
      Case 8:07-cr-00495-JSM-TGW Document 154 Filed 07/17/08 Page 3 of 6 PageID 389
A 0 215B (Rev. ObiM) Sheet 3 - Supervisrcl ReIease (Judgment i n a Crin~innlCase)

Defendant:           CASIMIRO GARCIA                                                                                          Judgment - Page jo fG
Case No.:            8:07-cr-495-T--<OTGW
                                                                SUPERVISED RELEASE

        Upon release from imprisonment, the defendanr shall be on supenised release lor a term of TWO ( 2 ) YEARS as to Count
One of the Second Superseding Indictment.

         The defendant must repon to the probalion oflice in the district to which the defendant is released within 72 hours of release rrom
the custody of the Bursau of Prisons.




-
x 'fl~eabow drug rc.>tinz c ~ ~ t d i t i is  n        Ilijd
                                          ~ liurprr~drd.                       i7n   the courl's d e ~ c t m i n a t i o nthat the defendant poses a low risk of (urnre
         substance abuse.

         The defendani shall not possess a lirearm, destructive device. o r any other dangerous w c a p o n

                                           ~ ~t t xC ~ r ~ l l ~i l Fi ij'i
         The defendanr shall C c l c ~ ~ i in                            t ~A ~.1\ ~i i li r c~i ~ c dby the probatinn officer




          The defendant must cornpl!, i\1111 l h c ? ~ m d ; ~ r io~diti~jil.\
                                                                 cl        i l ~ i t~ ; i ~ ih- w i adopted by tllls c o u r i as well as with any additional
          conditions on h e ahached page.

                                                STANDARD CONDITTONS OF SUPERVISION


          the defendant shall report to the probation o f i c e r and shall s u h m ~at rrutliful and complcte wrillen report within (he first live days of each
          month;

          the defendant shall ausu-cr r r u ~ l l f u l l yall inquiries by [he probation ol-licer and rollow tlie instructions of the prohation otticcr.




          the clci~rd.i~ir 4 ~ i work
                                  l   regularly at a I n w h l occupallon. unlcvs cvcused by the probation o f i c e r for schoolin:,         training, or other
          .:c.L.~I:! b k !-C~N>I-J<:

          thc clcfrndant shall notify tlie probation officer at least [en day< prior to any c h a r y i n rcsidencc or employnicnr;




                                                             ~ r ~ I<' \ i > i t i ~ i tIr
          the dctClldmr 4i;:II l i c n ~ ~;Ii !p r c h t i ~ t.ti1iic.r                 ii~ lier at any time a1 home o r elsewhere and shall permil confiscation o f any
          contrab.!~~Zt ~ o -c-d       ~ ~i i i~ I C U L~IL.p r t . ~ h ~8 i ~1 ~ i ~lccr-;
                               ~ iwi i ?!,I                            t.>!         c

          (he del'endant shall notify the probarion ofticer tt i l 1 1 1 1 .c\cnry-r-r\ro
                                                                           ;              hours o f bein? arrezted o r questioned by u law enforcement officer;
    Case 8:07-cr-00495-JSM-TGW Document 154 Filed 07/17/08 Page 4 of 6 PageID 390
                               -
A 0 2458 [RW. Q6J05) She& 3C Supervised Release ( I u d g m t in a Criminal Case)

Defendant:         CASlMIRO GARCIA                                                          Judgment - Page 4 of 6
C w No.:           8:07-cr195-T-30TGW
                                        SPECLAL CONDITIONS O F SUPERVISION

         The defendant shall also comply with the following additional conditions of supervised releaw:
         The defendant shall participate in the Home Detention program for a period of SEVEN (7) MONTHS . During this time,
         defendant will remainat defendant's place of residence except for employment and other activities approved in advance by the
         defendant's Probation Officer. Defendant wiU be subject to the standard conditions of Home Detention adopted for use in the
         Middle District of Florida, which may include the requirement to wear an electronic monitoring device and to follow eiectroaic
         monitoring procedures specifiedby the Probation Oficer, Further, the defendant shall be required to contribute to the cosls of
         services for such monitoring not to exceed an amount determined reasonable by the Probation OfEcer based on ability to pay
         (or availability o f t h i party payment) and in conformance with the ProbationOffice's Sliding Scale for Electronic Monitoriug
         Services.
         The defendant shall cooperate in the collection of DNA as directed by the probation officer.
         The mandatory drug tesqing provisions pursuant to the Violent Crime Control Act are waived. However, the Court ordera rhe
         probation officer to conduct random drug testing not to a d 104 tests per year.
      Case 8:07-cr-00495-JSM-TGW Document 154 Filed 07/17/08 Page 5 of 6 PageID 391
 4 0 235 B   (kv06/05)Shcet 5 - Criminal Monetary Pmalties (Judgment in a Criminal Case)
 Defendant:            CASlMlRO GARCIA                                                                      J ud-pent - Page 5 of 6
Case No..              S 07-cr-495-T-30TGW

                                               CRIMTNAL MONETARY PENALTIES

             The defendant must pay the total criminal monetary penalties under the schedule olpayrnents on Sheer 6.
                                 Assessment                          I;ine                        Total Restitution

             Totals:                                                  Waived



             The delerminalion of restitution is deferred until .              An Amended Judg~venfin a CI-in~ii~al
                                                                                                                Case ( A 0 245C) will
             be entered after such determlnatlon.
             The defendant must make resriturion (including community restiturion) ro the following payees in the amount listed
             below.
             If the dcrendanr makes a par@ payment, each payee shall receive an approximately proportioned payment, unless
             specified otherwise in the pnonty order or percentage pa ent column below. However, pursuant to 1 8 U.S.C. 6
                                                                           IT
             3664(i), all non-redera1 victims must be paid before the mted States.


                                                    Total Loss"                Restitution Ordcrrd                   Prioritv or Percentage




             Restitu~ionamount ordered pursuant to plea agreemen1 S
             The del'endant must pay interest on a fine or restitution of more than $2.500, unless the resti~utionor fine is paid in full
             before the fifteenth day after the date of the judgment, pursuant to 18 U.S.C.$ 36 1 2(f). All of die payment options on Sheet
             6 may be sub,jecr to penalties for delinquency and default. pursuant to 18 U.S.C. $ 3612(g).
             The court determined that the dcfendanr does not have the ability to pay inrerest and it IS ordered d ~ a t :
                       the interest rcquirernsnt is waived for the     fine - restitution.
                       the inleresl requirement for h e       h e       restitution i s modified as follows:


'"Findings Tor the toral amount of losses are required under Chapters I O9A; 1 10, 1 10A. and 1 1 3A o l T t l e 18 tbr [he offenses coinmit!cd
on or afrer September 13, 1994, but before April 23. 1996
      Case 8:07-cr-00495-JSM-TGW Document 154 Filed 07/17/08 Page 6 of 6 PageID 392
AO 2 4 5 ~ - ( & v06105) Sheet 6 - Schedule of Payments (Judgment in a Criminal Case)

Defendant:          CASIMRO GARCIA                                                            Judgment - Page 6of 6
Case No.:           807-c~-495-T-3OTGW


                                                     SCKEDULE OF PAYMENTS



Having assessed rhe defendant's abilily to pay, paymenr of rhe total criminal monetary penalties are due as follows:


          X         Lump sum payment of S 100.00 due immedia~ely,balance due
                              -not later Lhan                   ,
                              -in accordance - C. - D: - E or - f below; or
          -         Payment to begm imrneth,itr.l~(in:i! hc ir~mbii~cd
                                                                    I\ 1111             C'.
                                                                                        -       D. or     F below); or




                   Payment in equal                                               quartctlyj installments of S
                                                       ( c.9.. n t.c.kl! . n~cmthl~..                                  {I\c:- :I pcrioci < ~ f
                               , (e.g., months   !,ear>) 1 ~ c1 ~ ~ m m e a c e                 (e.g. 30 or 60 days) afrcr- rclcnsc iri~in
                    imprisonment to a term of super! isi(l11:
                    Payment dunnp h e term oi'>upcr\i d ~ c i c , ~ swill
                                                                     r    commence wlhin               (e g ,3O or 60 days)
                    after release horn impnsonnmr 1 hc cour i u dl sel the payment plan based on an assessment of the
                    defendant's ability to pay a1 tlm tlnic. L>!
                    Special instructions regarding rhe payment o l criminal monetary penalties:


Urdess the court has expressly ordered otherwise, if this judgment imposes impri sonment , payment of criminal monetary
penalties is due during m risonment. All criminal monetary penalties, except those pa ymenrs made through the Federal
                               %
Bureau of Prisons' lnmate inancial Responsibility Program, are made to the clerk oC he courc .
The defendant shall receive credit for all payments previously made toward any crinii na l monetary penal ties imposed.
         Job1 and Several
        Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Join[ and
Several Amount, and corresponding payee, if appropriate:


         Tlie defendant shall pay the cost of prosscution.
         The defendant shall pay the following coun cost(s):
         The defendant shall forfeit the defendantt>interest in the t l l l It>\\ ing property lo Ihe Uniretl Stales:
